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                                                     April 1, 2022
Honorable Alison J. Nathan
United States District Judge
United States Courthouse
40 Foley Square
New York, NY 10007

                        Re: United States v. Ghislaine Maxwell
                                   S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

       We write to make the Court aware of new information concerning Juror 50 that may impact

Ghislaine Maxwell’s pending motion for a new trial. Paramount Plus will be airing an additional

interview with Juror 50 in an original series titled “Ghislaine – Partner in Crime.” The trailer announces

a “bombshell revelation” from Juror 50 in his “only in-depth interview.”

See https://www.yahoo.com/entertainment/ghislaine-partner-crime-official-trailer-180000152.html.

       We have been unable to access the series in order to review the content of Juror’s 50 statements

nor have we learned whether the interview was recorded before he testified at the March 8 hearing. The

series was scheduled to air on March 29, but we have learned that Paramount is holding off airing the

series pending the Court’s ruling concerning Juror 50. We bring to the Court’s attention this previously

undisclosed interview and request a stay of any ruling pending review of the interview by the Court and

counsel.


                                             Very truly yours,

                                             /s/
                                             BOBBI C. STERNHEIM
cc: Counsel of Record
